Filed 8/21/24
                IN THE SUPREME COURT OF
                       CALIFORNIA

                   DAVID MEINHARDT,
                  Plaintiff and Appellant,
                              v.
                  CITY OF SUNNYVALE,
                Defendant and Respondent;
       SUNNYVALE DEPARTMENT OF PUBLIC SAFETY,
           Real Party in Interest and Respondent.

                                S274147

                 Fourth Appellate District, Division One
                               D079451

                  Santa Clara County Superior Court
                            19CV346911



                   ORDER MODIFYING OPINION

THE COURT:

      It is ordered that the opinion in this matter filed on July
29, 2024, be modified as follows:

        1. The text of footnote 6 on page 6 of the opinion is
           deleted in its entirety and replaced with the following:
           MEINHARDT v. CITY OF SUNNYVALE
              Opinion of the Court by Jenkins, J.


     This includes special proceedings such as
     administrative mandate proceedings. (§ 22
     [“[a]n action is an ordinary proceeding”]; § 23
     [“special proceeding” is “[e]very other remedy”];
     § 1110 [appellate rules and procedures that
     apply to civil actions apply to writs of review,
     mandate, and prohibition].)

     2. The sentence on page 20 of the opinion that states, “To
        the contrary, section 1110 explicitly provides that
        appellate rules and procedures that apply to civil
        actions apply to all special proceedings” is deleted in
        its entirety and replaced with the following:

     To the contrary, section 1110 explicitly provides
     that appellate rules and procedures that apply
     to civil actions apply to writs of review,
     mandate, and prohibition.

This modification does not affect the judgment.




                               2
        IN THE SUPREME COURT OF
               CALIFORNIA

                DAVID MEINHARDT,
               Plaintiff and Appellant,
                           v.
               CITY OF SUNNYVALE,
             Defendant and Respondent;
    SUNNYVALE DEPARTMENT OF PUBLIC SAFETY,
        Real Party in Interest and Respondent.

                           S274147

            Fourth Appellate District, Division One
                          D079451

             Santa Clara County Superior Court
                       19CV346911



                         July 29, 2024

Justice Jenkins authored the opinion of the Court, in which
Justices Corrigan, Liu, Kruger, Groban, Evans, and Sanchez*
concurred.




* Associate Justice of the Court of Appeal, Fourth Appellate
District, Division Three, assigned by the Chief Justice pursuant
to article VI, section 6 of the California Constitution.
           MEINHARDT v. CITY OF SUNNYVALE
                            S274147


              Opinion of the Court by Jenkins, J.


       California Rules of Court, rule 8.104(a)(1),1 provides that
“a notice of appeal must be filed on or before the earliest of: [¶]
(A) 60 days after the superior court clerk serves on the party
filing the notice of appeal a document entitled ‘Notice of Entry’
of judgment or a filed-endorsed copy of the judgment, showing
the date either was served; [¶] (B) 60 days after the party filing
the notice of appeal serves or is served by a party with a
document entitled ‘Notice of Entry’ of judgment or a filed-
endorsed copy of the judgment, accompanied by proof of service;
or [¶] (C) 180 days after entry of judgment.” This time limit is
jurisdictional: “no court may extend the time to file a notice of
appeal” (rule 8.104(b)), and relief cannot be conferred by
stipulation, waiver, or estoppel (Hollister Convalescent Hosp.
Inc, v. Rico (1974) 15 Cal.3d 660, 666–667). “If a notice of appeal
is filed late, the reviewing court must dismiss the appeal.” (Rule
8.104(b).)
     We granted review in this case to resolve uncertainty
about when the time to appeal starts to run in writ of
administrative mandate2 proceedings pursuant to section

1
      All further rule references are to the California Rules of
Court unless otherwise stated.
2
      We use the term writ of administrative mandate
throughout this opinion, except in quotations. (See Code of Civ.
Proc., § 1084 [a “writ of mandamus may be denominated a writ
of mandate”].)


                                1
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


1094.5 of the Code of Civil Procedure.3 Some Courts of Appeal,
including that in this case which dismissed the appeal as
untimely, hold that the time starts to run with the filing of an
“order” that disposes of all issues in the case and contemplates
no further action, not with subsequent entry of a “judgment.”
(E.g., Meinhardt v. City of Sunnyvale (2022) 76 Cal.App.5th 43,
50–51 (Meinhardt); City of Calexico v. Bergeson (2021) 64
Cal.App.5th 180, 182–183 (City of Calexico).) Other Courts of
Appeal hold that the time starts to run with the entry of a
“judgment,” not with the filing of a prior “order” (E.g., Protect
Our Water v. County of Merced (2003) 110 Cal.App.4th 362, 368,
fn. 2 (Protect Our Water)) or “minute order” (Hadley v. Superior
Court (1972) 29 Cal.App.3d 389, 392).
      “The time of appealability, having jurisdictional
consequences, should above all be clear.” (Budinich v. Becton
Dickinson and Co. (1988) 486 U.S. 196, 202.) “[B]right lines are
essential in this area, to avoid both inadvertent forfeiture of the
right to appeal and excessive protective appeals by parties
afraid they might suffer such a forfeiture.” (In re Baycol Cases
I &amp; II (2011) 51 Cal.4th 751, 761 (Baycol).) “ ‘Neither parties
nor appellate courts should be required to speculate about
jurisdictional time limits.’ ” (Alan v. American Honda Motor
Co., Inc. (2007) 40 Cal.4th 894, 905 (Alan).)
      Given these considerations, and for the reasons set forth
below, we adopt a “bright line[]” rule (Baycol, supra, 51 Cal.4th
at p. 761) that the time to appeal in administrative mandate
proceedings starts to run with entry of “judgment” or service of
notice of entry of “judgment,” rather than with the filing of, or

3
     All further statutory references are to the Code of Civil
Procedure unless otherwise stated.


                                2
             MEINHARDT v. CITY OF SUNNYVALE
                Opinion of the Court by Jenkins, J.


service of notice of the filing of, an “order,” minute order, or other
ruling. We therefore reverse the judgment of the Court of
Appeal, which held to the contrary.
          FACTUAL AND PROCEDURAL BACKGROUND
      In May 2019, the City of Sunnyvale Department of Public
Safety (Department) imposed a 44-hour suspension on Officer
David Meinhardt (Meinhardt), and the City of Sunnyvale
Personnel Board (the Board) upheld the suspension. Meinhardt
challenged the suspension by filing a petition for writ of
administrative mandate in the superior court, naming the
Board as a defendant and the Department as real party in
interest (together, the City). On August 6, 2020, after briefing
and a hearing, the court filed a document entitled “ORDER” (the
August 6 Order) containing factual findings and legal rulings
and concluding, “the Petition for Writ of Administrative
Mandamus is DENIED.” The clerk of the court served the
August 6 Order on the parties by mail the same day. On August
14, 2020, the City served Meinhardt with a judicial council form
CIV-130 entitled “Notice of Entry of Judgment or Order,” along
with a file-stamped copy of the August 6 Order.
      On September 4, 2020, the parties signed and submitted
to the court a document entitled “JUDGMENT” that stated, “On
August 6, 2020, the Court issued an Order Denying Petitioner
David Meinhardt’s Petition for Writ of Administrative
Mandamus . . . . For the reasons set forth in the Order, the
Court hereby enters Judgment for Respondents City of
Sunnyvale, et al., and against Petitioner David Meinhardt, who
shall take nothing by this action. [¶] IT IS SO ORDERED,
ADJUDGED AND DECREED.” The court signed this document
on September 17, 2020, and Meinhardt served on the City a


                                  3
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


“Notice of Entry of Judgment” on September 22, 2020. The trial
court entered the judgment on its docket on September 25, 2020
(the September 25 Judgment).4
      On October 15, 2020, Meinhardt filed a notice of appeal
from the September 25 Judgment. The Court of Appeal
requested briefing on the appeal’s timeliness and thereafter
dismissed the appeal as untimely, concluding the August 6
Order was the “final judgment” from which Meinhardt should
have appealed because it “denied” his mandate petition “in its
entirety and did not contemplate any further action in the case.”
(Meinhardt, supra, 76 Cal.App.5th at p. 63.) In so concluding,
the Court of Appeal acknowledged a split in published authority
on the timeliness issue but chose to follow Laraway v. Pasadena
Unified School District (2002) 98 Cal.App.4th 579 (Laraway)
and City of Calexico, supra, 64 Cal.App.5th 180, which held that
the time to appeal in writ proceedings5 starts from the filing

4
       Meinhardt explains that he served on the City a notice of
entry of judgment on September 22, 2020, before the judgment’s
official entry on September 24, 2020, because he received from
the court a courtesy copy of the signed judgment before its entry
in the docket, and he served a notice of entry of judgment shortly
after receiving the signed document. Given the date of official
entry, we refer to the judgment as “the September 25
Judgment.” The issue whether Meinhardt’s premature service
of the notice of entry of judgment triggered the 60-day period to
file a notice of appeal is not before us and is not relevant to the
disposition of this appeal. (See rule 8.104(a)(1)(B) [60 days after
service of “ ‘Notice of Entry’ of judgment or a filed-endorsed copy
of the judgment, accompanied by proof of service”]); rule
8.105(a)(1)(C) [“180 days after entry of judgment”].)
5
       City of Calexico was an administrative mandate case; it
appears Laraway was not. (City of Calexico, supra, 64
Cal.App.5th at p. 186 [section 1094.5 petition]; Laraway, supra,

                                4
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


of — or service of a file-endorsed copy of (together with a
document reflecting the date of service of) — an order or ruling
that is sufficiently final to constitute the judgment, not from a
subsequent entry of judgment. (Meinhardt, at pp. 51, 67–68.)
We granted Meinhardt’s petition for review, which asserted that
his notice of appeal was timely filed, within 60 days of service of
notice of entry of the September 25 Judgment.
                          DISCUSSION
   I.    Appealability of “Judgments” in Administrative
         Mandate Proceedings
      The right to appeal in California is “entirely statutory and
subject to complete legislative control.” (Trede v. Superior Court
(1943) 21 Cal.2d 630, 634 (Trede); see Griset v. Fair Political
Practices Com. (2001) 25 Cal.4th 688, 696 (Griset) [whether a
trial court’s order is appealable is determined by statute].)
Although the Judicial Council, in the California Rules of Court,
has prescribed procedural rules governing the appellate process,
it “does not have power to” promulgate rules that “restrict the
statutory right of appeal.” (In re Aaron R. (2005) 130
Cal.App.4th 697, 704.) Consequently, a rule “construed to
define a right of appeal more restrictive than the right of appeal
afforded by” statute “would be ‘to that extent void.’ ” (Ibid.)
     Reviewing courts likewise must remain true to statutes.
“Though the rules governing appealability have common law


98 Cal.App.4th at p. 580 [“a writ of mandamus and prohibition,
and for injunctive and declaratory relief” relating to a public
records request].) The ruling that triggered the time to appeal
was entitled “Order” in Laraway (Laraway, at p. 581) and
“Order and Ruling” in City of Calexico (City of Calexico, at p.
185).


                                5
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


roots,” courts “are not at liberty to modify those [common law]
contours in ways at odds with the statutory language.” (Baycol,
supra, 51 Cal.4th at p. 759, fn. 5.) “A reviewing court’s
obligation to exercise the appellate jurisdiction with which it is
vested, once that jurisdiction has been properly invoked, is
established and not open to question.” (Leone v. Medical Board
(2000) 22 Cal.4th 660, 669.) Similarly, an appellate court
generally lacks jurisdiction to decide an appeal from an order
unless the order is one that is expressly made appealable by
statute. (Griset, supra, 25 Cal.4th at p. 698; Garau v. Torrance
Unified School Dist. (2006) 137 Cal.App.4th 192, 198.)
      Section 904.1, which provides a list of appealable
judgments and orders, permits an appeal in any unlimited civil
action6 to be taken from any of 14 enumerated filings. The first
such filing, with exceptions not relevant here, is “a judgment,
except an interlocutory judgment.” (§ 904.1, subd. (a)(1).) This
means an appeal must be taken “from a judgment that is not
intermediate or nonfinal but is the one final judgment.”
(Morehart v. County of Santra Barbara (1994) 7 Cal.4th 725, 741
(Morehart); Dhillon v. John Muir Health (2017) 2 Cal.5th 1111,
1112 (Dhillon) [“As a general rule, a litigant may appeal an
adverse ruling only after the trial court renders a final
judgment”].) This “one final judgment rule is ‘a fundamental
principle of appellate practice’ ” (Baycol, supra, 51 Cal.4th at p.
756), the purpose of which is to prevent “ ‘piecemeal disposition
and multiple appeals’ ” that “ ‘tend to be oppressive and costly’ ”

6
     This includes special proceedings such as administrative
mandate proceedings.          (§ 22 [“action” is “an ordinary
proceeding”]; § 23 [“special proceeding” is “every other remedy”];
§ 1110 [appellate rules and procedure that apply to civil actions
apply to special proceedings].)


                                6
            MEINHARDT v. CITY OF SUNNYVALE
                Opinion of the Court by Jenkins, J.


(Morehart, supra, 7 Cal.4th at p. 741, fn. 9). Section 904.1 also
lists several “orders” that are appealable, including an order
appointing a receiver (subd. (a)(7)), an order for sanctions of
more than $5,000 (subd. (12)), and an order granting or denying
a special motion to strike under section 425.16 (subd. (13)).
Section 904.1 is supplemented by other statutes that create
rights to appeal specific orders, such as section 1294, which
makes appealable an order dismissing or denying a petition to
compel arbitration.
      Many “orders” are not statutorily appealable, and an
appeal must therefore be taken from a “judgment” before the
trial court’s decision may be reviewed. This includes orders
granting judgment on the pleadings (Varjabedian v. City of
Madera (1977) 20 Cal.3d 285, 289, fn. 1), orders denying motions
for a new trial (Walker v. Los Angeles County Metropolitan
Transportation Authority (2005) 35 Cal.4th 15, 19), and orders
sustaining demurrers without leave to amend (Berri v. Superior
Court (1955) 43 Cal.2d 856, 860) (Berri).
      An order granting or denying a petition for writ of
administrative mandate is also not enumerated in section 904.1
as an appealable order. Nor does any other statute expressly
make such an order appealable. Indeed, the language of section
1094.5 is consistent with the view that entry of a “judgment” is
contemplated in administrative mandate proceedings. Section
1094.5, subdivision (f), provides, first, that the “court shall enter
judgment” (italics added) in administrative mandate
proceedings, and then it describes the procedure for doing so as
follows: “The court shall enter judgment either commanding
respondent to set aside the order or decision, or denying the
writ. Where the judgment commands that the order or decision


                                 7
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


be set aside, it may order the reconsideration of the case in light
of the court’s opinion and judgment and may order respondent
to take such further action as is specially enjoined upon it by
law, but the judgment shall not limit or control in any way the
discretion legally vested in the respondent.” In outlining the law
governing the issuance of stays of administrative orders,
subdivision (g) of section 1094.5 refers to the taking of a “notice
of appeal from the judgment” (italics added): “[T]he court in
which proceedings under this section are instituted may stay the
operation of the administrative order or decision pending the
judgment of the court, or until the filing of a notice of appeal
from the judgment or until the expiration of the time for filing
the notice, whichever occurs first.” Subdivision (h)(1) of section
1094.5, which sets forth other rules relating to stays, also
contemplates that the notice of appeal will be “from the
judgment.”
      Section 1064, which applies to “special proceeding[s]”
including administrative mandate proceedings, and section 577,
which more broadly applies to “an action or proceeding,” say it
is a “judgment” — and not an “order” or other ruling — that
signals the end of a case. These sections explicitly provide that
a “judgment” “is the final determination of the rights of the
parties.” (§§ 577, 1064, italics added.) In contrast, section 1003
defines an “order” as “[e]very direction of a court or judge, made
or entered in writing, and not included in a judgment.” (See
§ 1064 [definition of “order” in civil actions applies in special
proceedings].)
      Consistent with the language of sections 1094.5 and 1064,
courts have contemplated that there will be entry of a formal
judgment following an order granting or denying a petition for


                                8
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


writ of administrative mandate. (E.g., Voices of the Wetlands v.
State Water Resources Control Board (2011) 52 Cal.4th 499, 526
[“The trial court here followed that mandate [of section 1094.5];
it issued a final judgment denying a writ of mandamus”]; JHK
Enterprises, Inc. v. Department of Industrial Relations (2006)
142 Cal.App.4th 1046, 1056 [treating “order” as appealable but
stating, “[o]rdinarily, an appeal must be taken only from a final
judgment, even in a mandamus action,” citing § 904.1 and
Griset, supra, 25 Cal.4th at p. 697]; Cody v. Justice Court of
Vacaville Judicial Dist. (1965) 238 Cal.App.2d 275, 277, fn. 1
[permitting an appeal from an “order” denying a writ of mandate
but stating, “It would seem that the granting or denial of relief
in mandamus proceedings is effectuated by a judgment rather
than an order”].)
      The Legislature’s “complete . . . control” over the right to
appeal, the “entirely statutory” nature of the right to appeal
(Trede, supra, 21 Cal.2d at p. 634), and the plain language of
section 1094.5, which requires entry of “judgment,” all indicate
that entry of “judgment,” and not the filing of an order, minute
order, ruling, statement of decision, or any other differently
entitled document, signals the end of the case in administrative
mandate proceedings.
  II.   “Judgments” and Timeliness of Administrative
        Mandate Appeals
      Despite the requirement of a “judgment,” the significance
of the one judgment rule, and statutory limitations on what is
appealable, reviewing courts, including ours, have deemed
orders and other rulings to be the “judgments” under certain
circumstances, such as when the ruling is sufficiently final to
constitute the one judgment in the case, to promote judicial


                                9
            MEINHARDT v. CITY OF SUNNYVALE
                Opinion of the Court by Jenkins, J.


economy, to preserve a party’s right to appeal, and to permit
appellate review on the merits. (E.g., Saben, Earlix &amp; Associates
v. Fillet (2005) 134 Cal.App.4th 1024, 1030 [“some courts have
chosen to treat an appeal from an order . . . as an appeal from a
subsequently entered judgment, or even to deem the order itself
to be a judgment, in order to save the faulty appeal”]; Morgan v.
Imperial Irrigation Dist. (2014) 223 Cal.App.4th 892, 904
[“exercis[ing] its discretion [to] treat” as an appealable judgment
a “statement of decision” that disposed of all issues].)
       This practice has been common in cases involving orders
that reflect the trial court’s final decision but are not statutorily
appealable, such as orders granting summary judgment
(Sullivan v. Delta Air Lines, Inc. (1997) 15 Cal.4th 278, 307, fn.
10) and orders sustaining demurrers without leave to amend (In
re Social Services Payment Cases (2008) 166 Cal.App.4th 1249,
1262, fn. 4 [treating an appeal “taken from the nonappealable
order sustaining the demurrer . . . as a premature but valid
notice of appeal from the subsequently entered judgment”].) In
In re Social Services Payment Cases, at page 1262, footnote 4,
the Court of Appeal cited in support of its decision former rule
8.104(e)(2), now rule 8.104(d)(2), which is entitled “Premature
notice of appeal” and provides: “The reviewing court may treat
a notice of appeal filed after the superior court has announced
its intended ruling, but before it has rendered judgment, as filed
immediately after entry of judgment.”
      Appellate courts have followed this practice in the context
of administrative mandate proceedings as well. In Tomra
Pacific, Inc. v. Chiang (2011) 199 Cal.App.4th 463, 481–482
(Tomra Pacific), the Court of Appeal stated: “We note that the
order denying the petitions for a writ of mandate is not termed


                                 10
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


a judgment and does not explicitly address the declaratory relief
causes of action. Nevertheless, we are satisfied that the order
before us constitutes an appealable final judgment as it left no
issue for further consideration.” In another case, a different
Court of Appeal stated: “Although the trial court never entered
a formal judgment on the petition for writ of mandate, its order
denying the petition in its entirety ‘constitutes a final judgment
for purposes of an appeal.’ ” (Sandlin v. McLaughlin (2020) 50
Cal.App.5th 805, 820 (Sandlin).)
       Relying on this practice of permitting an appeal by
deeming a sufficiently final order or other ruling to be
appealable, the Court of Appeal in this case dismissed the
appeal, holding that in administrative mandate proceedings the
filing of such an order is also the entry of judgment from which
the time to appeal under rule 8.104(a)(1) begins. (Meinhardt,
supra, 76 Cal.App.5th at p. 55.)7 For reasons that follow, we
reject this approach.

7
      As noted, the Court of Appeal also relied on two other
appellate decisions that, based on similar reasoning, dismissed
appeals as untimely. (Meinhardt, supra, 76 Cal.App.5th at pp.
51, 67–68, discussing Laraway, supra, 98 Cal.App.4th 579, and
City of Calexico, supra, 64 Cal.App.5th 180.) The Court of
Appeal declined to follow Protect Our Water, in which another
Court of Appeal denied a motion to dismiss the appeal as
untimely, stating, “[Respondent] filed a motion to dismiss the
appeal as untimely, arguing the appeal was filed more than 60
days after service of the order denying the writ of mandate.
However, the appeal was filed within 60 days after entry of the
judgment, and the judgment is appealable. (See Catalina
Investments, Inc. v. Jones (2002) 98 Cal.App.4th 1, 5, fn. 3; MCM
Construction, Inc. v. City and County of San Francisco (1998) 66
Cal.App.4th 359, 367, fn. 3.)” (Meinhardt, supra, 76 Cal.App.5th
at p. 67, quoting Protect Our Water, supra, 110 Cal.App.4th at
p. 368, fn. 2.)


                               11
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


      In Alan, the Court of Appeal dismissed as untimely an
appeal from an order denying class certification8 because a
minute order entitled “Ruling on Submitted Matter,” with an
accompanying Statement of Decision, had been mailed to the
parties 63 days earlier. (Alan, supra, 40 Cal.4th at p. 898,
capitalization omitted.) Our court reversed, holding that unless
and until a proper “ ‘Notice of Entry’ ” was served, the 60-day
period in which to file the appeal under rule 8.104(a)(1) had not
commenced. (Id. at p. 905.) We acknowledged that a statement
of decision may, under some circumstances, be construed as the
final judgment: “Reviewing courts have discretion to treat
statements of decision as appealable when they must, as when
a statement of decision is signed and filed and does, in fact,
constitute the court’s final decision on the merits.” (Id. at p.
901.) However, we declined to construe a court’s ruling as an
appealable judgment for the purpose of barring appeal:
“Certainly the desire to cut off a litigant’s right to appeal cannot
justify creating an exception to the general rule. Such an
exception would directly contravene ‘the well-established policy,
based on the remedial character of the right of appeal, of
according that right in doubtful cases “when such can be
accomplished without doing violence to applicable rules.” ’ ”
(Ibid.) We also emphasized the importance of insuring clear
rules govern the right to appeal: “rule [8.104(a)(1)] does not
require litigants to glean the required information from multiple
documents or to guess, at their peril, whether such documents
in combination trigger the duty to file a notice of appeal.


8
      An order denying class certification is appealable where it
would be the “death knell” of the action. (Baycol, supra, 51
Cal.4th at p. 757.)


                                12
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


‘Neither parties nor appellate courts should be required to
speculate about jurisdictional time limits.’ ” (Id. at p. 905.)
      The Court of Appeal in Davis v. Superior Court (2011) 196
Cal.App.4th 669 (Davis), similarly distinguished between
treating a ruling as a judgment for the purpose of preserving an
appeal and doing so to deny a party’s right of appeal. The
question in Davis was whether the notice of appeal, filed from a
judgment granting summary judgment, was timely when a prior
“order” granted the same relief. The Court of Appeal stated: “In
Swain [v. California Casualty Ins. Co. (1999) 99 Cal.App.4th 1,
6], the appellate court’s willingness to read the language of the
court’s order as constituting the court’s judgment vindicated the
right to appeal . . . . Here, in contrast, construing the trial
court’s language as its judgment when it was styled as an order
extinguishes the right to appeal.           Consistent with the
importance of the right to appeal, we conclude that denying
Davis his appellate rights requires more than an ‘order’ (the
court’s own title for its ruling) dressed up to masquerade as a
‘judgment.’ ” (Davis, at p. 674.)
      Similarly, here, the fact that an appellate court may
preserve an appeal by deeming an order or other ruling to be a
judgment does not necessarily mean the order or ruling is the
judgment for all purposes, including commencing the time in
which an appeal may be taken. It is in the context of preserving
the right to appeal that we have stated that an order or other
ruling constitutes a judgment. We are aware of no case of this
court construing a court’s ruling to be a judgment for the
purpose of dismissing an appeal as untimely — in
administrative mandate proceedings or otherwise — and we
decline to do so here.


                               13
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


       Instead, we conclude that the time to appeal in
administrative mandate proceedings begins with the entry of
“judgment” or service of notice of entry of “judgment,” not with
the filing of an “order” or other ruling, or service of notice of
filing of such a ruling, even where an appellate court might
deem such a ruling appealable in order to vindicate the right of
appeal. This conclusion is consistent with the plain language of
the relevant statutes and rules that contemplate the entry of a
“judgment,” and with “ ‘the well-established policy, based on the
remedial character of the right of appeal, of according that right
in doubtful cases “when such can be accomplished without doing
violence to applicable rules.” ’ ” (Alan, supra, 40 Cal.4th at p.
901.)
       Our conclusion is also consistent with the goal of providing
clarity to litigants when it comes to jurisdictional deadlines. As
stated above, “bright lines are essential in this area, to avoid
both inadvertent forfeiture of the right to appeal and excessive
protective appeals by parties afraid they might suffer such a
forfeiture.” (Baycol, supra, 51 Cal.4th at p. 761.) “ ‘Neither
parties nor appellate courts should be required to speculate
about jurisdictional time limits.’ ” (Alan, supra, 40 Cal.4th at p.
905.) In the case where an appellate court permits an appeal,
the party seeking review of the trial court’s decision has already
filed a notice of appeal. Based on that notice of appeal, the
appellate court determines whether the decision from which the
appeal was taken is sufficiently final to constitute a judgment,




                                14
             MEINHARDT v. CITY OF SUNNYVALE
                Opinion of the Court by Jenkins, J.


and if it determines that it is, it may permit the appeal to go
forward without a formal judgment.9
       In contrast, a holding that an order or other ruling that is
sufficiently final to constitute a judgment also commences the
running of the time to appeal under rule 8.104(a)(1) would
require parties to guess whether any ruling issued in the case
may later be construed by a reviewing court to be the judgment
that started the appellate clock. The Court of Appeal here
stated that parties must timely appeal from rulings that are “in
effect” judgments (Meinhardt, supra, 76 Cal.App.5th at p. 69,
italics added), but it may not always be clear in a given case
whether a ruling is sufficiently final to effectively constitute a
judgment.10 This uncertainty leaves parties guessing as to
whether the time to appeal begins from the filing of, or service
of notice of filing of, an order or other ruling, or from entry of, or
service of notice of entry of, a judgment that may be
subsequently entered.          As commentators discussing the
9
       In some cases, appellate courts instruct the trial court to
enter judgment nunc pro tunc as of the date of the ruling from
which the appeal has been taken so that the notice of appeal is
deemed to have been filed after entry of judgment. (E.g., Flores
v. Department of Corrections &amp; Rehabilitation (2014) 224
Cal.App.4th 199, 204 [instructing the trial court to enter
judgment of dismissal nunc pro tunc “[t]o promote the orderly
administration of justice, and to avoid the useless waste of
judicial and litigant time that would result from dismissing the
appeal merely to have a judgment formally entered in the trial
court and a new appeal filed”].)
10
       In some situations, such as in the case of an order
sustaining a demurrer without leave to amend, or the order
denying the petition at issue in this case, it may be fairly easy
for litigants to determine whether the ruling is sufficiently final
to constitute the judgment in the case; in other situations,
however, that determination may not be so easy.


                                 15
             MEINHARDT v. CITY OF SUNNYVALE
                Opinion of the Court by Jenkins, J.


Meinhardt case have noted, the “appealability of orders
adjudicating writs of mandate can present difficult problems,
even for experienced writ practitioners.” (Asimow, et al., Cal.
Practice Guide: Administrative Law (The Rutter Group 2023) ¶
21:22.2.) The Meinhardt rule requires “attorneys [to] scrutinize
any order adjudicating a writ,” which “may be titled ‘order,’
‘statement of decision,’ ‘findings of fact and conclusions of law,’
or some other title,” depending on the court or the particular
judge’s practices. (Ibid.)
       Insofar as the City argues that the definition of
“judgment” as the “final determination of the rights of the
parties” (§§ 577, 1064), and the definition of “judgment” as
including “appealable order[s]” (rule 8.104(e)), support its
position that an order that may be found to meet that definition
is a judgment for the purpose of starting the time to appeal, we
disagree. Although some “orders” granting or denying petitions
for writ of administrative mandate may be sufficiently final to
fall within the legal definition of “judgment” (§§ 577, 1064),
parties should not be required to guess, on a case-by-case basis,
whether a given order constitutes a “judgment” such that the
time to appeal will begin to run. We do not believe the Judicial
Council, in promulgating rule 8.104, intended to require such a
case-by-case analysis by the parties regarding whether the time
to appeal has started to run. (Alan, supra, 40 Cal.4th at p. 905
[rule 8.104(a)(1) “does not require litigants . . . to guess, at their
peril,” whether their duty to file a notice of appeal is triggered].)
Requiring entry of, or service of notice of entry of, a
“judgment” — so denominated — to start the time to appeal
leaves little room for confusion about when there is finality, and
therefore comports with the importance of having “bright
lines . . . in this area, to avoid both inadvertent forfeiture of the

                                 16
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


right to appeal and excessive protective appeals by parties
afraid they might suffer such a forfeiture.” (Baycol, supra, 51
Cal.4th at p. 761.)
       The City asserts that requiring entry of “judgment” to
start the appellate clock would serve no purpose and could
produce “unnecessary delay” in administrative mandate
proceedings. It expresses concern that some trial judges, “for
whatever reason,” delay in signing proposed judgments or
entering a ”document titled ‘judgment,’ thereby delaying any
appellate review of the trial court’s decision.” But the same may
be said as to any civil action in which the trial court’s decision
must be in the form of a “judgment” to be appealable — for
example, orders sustaining demurrers without leave to
amend — yet this requirement does not appear to have caused
undue delay because appellate courts are authorized to deem
these orders to be judgments to permit the appeals to be proceed.
(Rule 8.104(d)(2).) The same is true for writ proceedings; as
noted above, when a party has appealed from an order granting
or denying a writ petition, appellate courts have permitted
appeals to go forward after determining the order in question
has resolved all issues between the parties. (E.g., Tomra Pacific,
supra, 199 Cal.App.4th at pp. 481–482, Sandlin, supra, 50
Cal.App.5th at p. 820.) Moreover, we are confident that trial
courts, parties, and counsel will work together to ensure that
judgments are timely signed and entered. In the event this does
not occur, parties may pursue other options, such as the filing of
a petition for a writ of mandate to compel the trial court to enter
judgment. (See Hadley v. Superior Court, supra, 29 Cal.App.3d
at p. 390.)




                                17
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


      The City also asserts that requiring entry of judgment
would cause parties to purposefully “prop the door open for
appellate review — for months or years . . . . If they can
persuade the trial court to hold off from entering ‘judgment,’ the
parties can create their own convenient window for seeking
appellate review.”     However, a prevailing party in an
administrative mandate proceeding, just as in any civil action,
has both the ability and the incentive to promptly submit a
proposed judgment to the court, obtain entry of judgment, and
serve a notice of entry of judgment to commence the time to
appeal.
      Further, notwithstanding the City’s description of the
September 25 Judgment as an “irrelevant” document, a
judgment is significant in that the time between the filing of an
order or other ruling and entry of judgment allows the parties
to request — and trial courts to make — changes to the order or
other ruling before the trial court loses jurisdiction. (Safeco Ins.
Co. v. Architectural Facades Unlimited, Inc. (2005) 134
Cal.App.4th 1477, 1482 [trial court lost jurisdiction to consider
motion for reconsideration upon entry of judgment]; Berri,
supra, 43 Cal.2d at p. 860 [“an order sustaining a demurrer
without leave to amend is not appealable as it is not the final
judgment in the case” and “the trial court may reconsider its
ruling after such an order but before judgment and come to a
different conclusion”].) As we have explained, one of the reasons
for the one judgment rule is that “[u]ntil a final judgment is
rendered the trial court may completely obviate an appeal by
altering the rulings from which an appeal would otherwise have
been taken.” (Morehart, supra, 7 Cal.4th at p. 741, fn. 9.) “At
any time before a judgment is entered the court may change its
conclusions of law and enter a judgment different from that first

                                18
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


announced, and [judges] who [have] heard the evidence may at
any time before entry of judgment amend or change [their]
findings of fact.”     (Wilson v. Los Angeles County Emp.
Association (1954) 127 Cal.App.2d 285, 289.) Once judgment is
entered, the trial court “may correct judicial error only through
certain limited procedures such as motions for new trial and
motions to vacate the judgment.” (Passavanti v. Williams (1990)
225 Cal.App.3d 1602, 1606.)11
      We note that the City does not argue — and the Court of
Appeal did not suggest — that the time to appeal in all civil
cases begins with the filing of any order that is sufficiently final
to constitute the judgment in the case. But they also have not
persuasively explained why the time to appeal should begin
with the filing of such an order in administrative mandate
proceedings in particular. The City asserts in a cursory fashion
that “one reason for [treating administrative mandate
proceedings differently from civil actions] may be that . . . orders
resolving all the issues in [administrative mandate proceedings]
do not take numerous forms. This is in contrast to ordinary civil

11
      Meinhardt and Amicus Curiae Ballona Wetlands Land
Trust point out that the local court rules in some counties
require parties in writ proceedings to incorporate trial court
rulings into proposed judgments (see Sacramento County
Superior Court Local Rules, rule 2.26(e) [the prevailing party in
writ proceedings must submit a proposed judgment to the court
for approval]) or provide parties and trial courts the opportunity
to resolve any issues after a judicial ruling and before entry of
judgment (see Los Angeles County Superior Court Local Rules,
rule 3.231(n) [parties in writ proceedings have 10 days after trial
to raise objections to a proposed judgment and to meet and
confer, and additional time, if necessary, for a hearing “for
purposes of resolving any objections and signing the
judgment”]).


                                19
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


actions, in which resolution of cases can range from motions to
dismiss, to summary judgment, to trial by judge or jury, and in
which numerous types of monetary and non-monetary remedies
can be imposed.” As Meinhardt points out, however, the City’s
argument “defies the actual diversity of practice that occurs in
administrative mandate cases.” (Citing, e.g., Saint Francis
Memorial Hospital v. State Dept. of Public Health (20020) 9
Cal.5th 710, 719 [resolving administrative mandate case by
demurrer]; Angelier v. State Board of Pharmacy (1997) 58
Cal.App.4th 592, 598, fn. 5 [statement of decision requirement
of section 632 is implicated in administrative mandate
proceedings where trial court is required to independently weigh
the evidence, as opposed to merely assessing its sufficiency].)
Nothing in the language of the relevant statutes and rules or in
section 1094.5’s legislative history12 suggests that the
calculation of the time to appeal in administrative mandate
proceedings is different from the calculation in other
proceedings. To the contrary, section 1110 explicitly provides
that appellate rules and procedures that apply to civil actions
apply to all special proceedings.
       The City argues that Dhillon supports its position and the
Court of Appeal’s holding, but the argument is unpersuasive
because Dhillon did not address timeliness. There, a surgeon
filed a petition for writ of administrative mandate challenging a
hospital’s decision to suspend his clinical privileges. (Dhillon,
supra, 2 Cal.5th at p. 1116.) The trial court ruled the surgeon
was entitled to an administrative hearing before suspension of
his privileges and ordered the hospital owner to conduct such a

12
     At Meinhardt’s request, we have taken judicial notice of,
and reviewed, section 1094.5’s legislative history.


                               20
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


hearing. (Ibid.) At the time, our Courts of Appeal disagreed as
to whether rulings that partially granted writ petitions by
ordering administrative hearings to take place were sufficiently
final for purposes of appealability; we resolved that conflict by
holding that they were. (Id. at pp. 1113–1114.) In stating that
the “remand order” was, given its nature, “an appealable final
judgment” (id. at p. 1116), we were addressing a question of
appealability, not a question of timeliness. The only issue before
us was whether the trial court’s ruling that only partially
granted a writ petition was sufficiently final for purposes of
permitting the appeal to go forward. Thus, Dhillon does not
support the City’s argument or the Court of Appeal’s holding
that an order granting or denying a petition for writ of
administrative mandate is the judgment from which the time to
appeal begins to run. (See B.B. v. County of Los Angeles (2020)
10 Cal.5th 1, 11 [“As we have repeatedly observed, ‘ “ cases are
not authority for propositions not considered.” ’ ”].)13
      In this case, after the trial court filed an “order” denying
Meinhardt’s petition for writ of administrative mandate, the
parties signed, and the trial court signed and entered, a
“judgment,” which Meinhardt promptly served on the parties. If
the earlier “order” was the “judgment” from which Meinhardt

13
      We also note Meinhardt’s observation in his Opening Brief
that the Court of Appeal docket in Dhillon “reflects that the
appellant timely took its appeal from both ‘(1) the superior
court’s order — filed on or about 08/06/14 granting in part
Jatinder Dhillon’s motion for peremptory administrative writ
[and] (2) the superior court’s judgment on writ of mandate, filed
on or about 09/08/14.’ ” Our own review of the Court of Appeal
record confirms this observation. The fact that a subsequent
judgment was entered in Dhillon simply was not relevant to the
appealability issue we decided.


                               21
            MEINHARDT v. CITY OF SUNNYVALE
               Opinion of the Court by Jenkins, J.


should have appealed, the subsequent entry of a judgment that
explicitly stated, “the Court hereby enters Judgment,” was not
merely a nullity or a mistake; it was potentially misleading.
(See Davis, supra, 196 Cal.App.4th at p. 673 [“The city’s filing of
its ‘[Proposed] Judgment’ belies its assertion that nothing more
needed to be done, for if nothing more were needed then why did
the city file its proposed judgment?”].)
      Finally, we note that under the Court of Appeal’s analysis,
parties would be unable to take a trial court at its word when it
states that it is entering judgment. Instead, they will need to
evaluate whether a prior minute order, statement of decision,
order, or other ruling may later be found to be sufficiently final
to constitute the judgment for purposes of commencing the
running of the time to appeal. Ultimately, that rule would serve
no apparent purpose and would encourage parties to file
multiple protective appeals, thereby depriving the parties and
the courts of the benefits of the one judgment rule. (See
Morehart, supra, 7 Cal.4th at p. 738, fn. 4 [one final judgment
rule is intended to avoid “ ‘ “piecemeal disposition and multiple
appeals” ’ ”].) Our resolution of the question better promotes
clarity and uniformity, access to the courts for all parties —
whether represented by counsel or not — and preserves the
right to appellate review on the merits. We conclude that entry
of — or service of notice of entry of — the September 25
Judgment started the time to appeal in this case and that
Meinhardt’s notice of appeal, filed October 15, 2020, was
therefore timely. Accordingly, the Court of Appeal erred in
dismissing the appeal.




                                22
                  MEINHARDT v. CITY OF SUNNYVALE
                      Opinion of the Court by Jenkins, J.


                                      DISPOSITION
      We reverse the judgment of the Court of Appeal and
remand the matter for further proceedings consistent with this
opinion.14

                                                              JENKINS, J.
We Concur:
CORRIGAN, J.
LIU, J.
KRUGER, J.
GROBAN, J.
EVANS, J.
SANCHEZ, J.*
__________________________
*       Associate Justice of the Court of Appeal, Fourth Appellate District, Division Three,
assigned by the Chief Justice pursuant to article VI, section 6 of the California Constitution.



14
      We disapprove the cases on which the Court of Appeal
relied that similarly dismissed, as untimely, appeals that were
timely filed from entry of judgment — Laraway v. Pasadena
Unified School District, supra, 98 Cal.App.4th 579 and City of
Calexico v. Bergeson, supra, 64 Cal.App.5th 180. The Court of
Appeal also cited Valero Refining Co. California v. Bay Area Air
Quality Management Dist. Hearing Bd. (2020) 49 Cal.App.5th
618, in support of its conclusion. (Meinhardt, supra, 76
Cal.App.5th at p. 50.) The Court of Appeal in Valero stated in a
footnote, “Contrary to the suggestion by [defendants], the
appealable judgment was the court’s order granting a writ of
mandate, not a ‘judgment’ that it subsequently entered.”
(Valero, at p. 633, fn. 10.) To the extent this means the time to
appeal begins with the filing of an order in writ proceedings, and
not a subsequently entered judgment, we disapprove this
language. Finally, we disapprove Natomas Unified School Dist.
v. Sacramento Bd. of Education (2022) 86 Cal.App.5th 1013, to
the extent it suggests that if the order granting a petition for
writ of administrative mandate had finally resolved all issues in
the case, it would have been the judgment that commenced the
running of the time to appeal.


                                               23
See next page for addresses and telephone numbers for counsel who
argued in Supreme Court.

Name of Opinion Meinhardt v. City of Sunnyvale
__________________________________________________________

Procedural Posture (see XX below)
Original Appeal
Original Proceeding
Review Granted (published) XX 76 Cal.App.5th 43Review Granted (unpublished)
Rehearing Granted
__________________________________________________________

Opinion No. S274147
Date Filed: July 29, 2024
__________________________________________________________

Court: Superior
County: Santa Clara
Judge: Peter H. Kirwan
__________________________________________________________

Counsel:

Messing Adam &amp; Jasmine, Gregg McLean Adam; Kirkland &amp; Ellis,
Michael Shipley and Nathaniel Haas for Plaintiff and Appellant.

Kimberly E. Leefatt, Jaclyn H. Prange; Chatten-Brown, Carstens &amp;
Minteer and Douglas P. Carstens for the Natural Resources Defense
Council, Sierra Club and Planning and Conservation League as Amici
Curiae on behalf of Plaintiff and Appellant.

Venskus &amp; Associates, Sabrina D. Venskus, Jason R. Sanders; Law
Offices of Brian Acree and Brian Acree for Ballona Wetlands Land
Trust as Amicus Curiae on behalf of Plaintiff and Appellant.

Liebert Cassidy Whitmore, Brian P. Walter, Suzanne Solomon and
David A. Urban for Defendant and Respondent.

No appearance for Real Party in Interest and Respondent.
Counsel who argued in Supreme Court (not intended for
publication with opinion):

Michael Shipley
Kirkland &amp; Ellis LLP
555 South Flower Street
Los Angeles, CA 90071
(213) 680-8222

David A. Urban
Liebert Cassidy Whitmore
6033 West Century Boulevard, 5th Floor
Los Angeles, CA 90045
(310) 981-2045
